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EXHIBIT 5

exhibits

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Camp Qtiesf. lru:. Maii - Fwd: Schedu|irlg a Ca|l 712 1/14, 12:15 PM

§§

Fw'd: s¢heduiin§ a can l

Edwina Rogers <edwina@secu|ar.org> Set, May 24, 2014 at 10:59 AM
'i“o; Amanda Ntetskas <president@secular.org>

Over to you boss |ady. Your new shit storm for this week. l think if | sit back and do nothing then l would be a very
successful member of the tribal secular community A coupte of hill visits and a lobby day and call that a year of
progress. Shou|d l rethink my desire and mission to build a strong and large secular community and get all other
groups trying for the same goal? Not a good month for such a mission to say the least. Any advice or help ls much
appreciatedl

Eciwina Rogers

Executive Director

Secular Coalitlon for Amerioa
1012 14th St,, NW. Suite 205
Washingtonr DC 20005

Of’Fice (202) 299 1091 ext. 207
i\/|obile (202) 674 7800
edwina@secular.org
www.secular.org

Begin forwarded message:

From: Edwina Rogers <edwina@secular.org>
Date: May 24. 2014 at 10:43:28 AM EDT

To: Greg l_anger <glangeriaw@gmail,com>
Subject: Re: Scheduiing a Ca|i

What do you mean? l have nothing new that we have not been doing. And if we did -- good for us al|.
The same that SCA did for Ex lvtuslims, Musiimish, Ex Muslim Women‘s Network, B|ack Non Beiievers,
and the list goes on and on‘? Sarah has been with us two to three days a week for nine months and
now she can give us tive days. What we do is called lending a helping hand, secular neighborhood
buiiding and secular community initiative but is not a formal incorporated entity So you changed the
name of your project from humanist to secular and now claim all things secular? ls this the complaint?
We have offered to be the back office for any nontheist group that exist or wants to exist no matter the
Eabel. We complete 03 forms, dc incorporations, help secure addressesl write bylaws. help with
websites, fundraising training, etc. There are about 2k weak groups in the US and we need 40k strong
ones. We focus in states where our state coalitions are weak due to no strong groups in the state. We
are a coalition so our participants are groups Are you saying that you own this space and that you and
the Harvard Humanist Community has ali this covered? Rea||y? Shall | send over the stack of c3
applications to be completed from my desk to you? No strong secutar community -- then no seat at the
policy making tab|e. if we had one hundred groups offering what we offer - that would not be near
enough to make a dent on the need. Please exptain your non positive thoughts about me? lt is my
50th birthday and | am in Key l.argo for the party with my family and loved ones. l have had enough
small minded in fighting with the secuiar movement for this week. Actual|y enough for a life time. | did
not take you to be tribal. Please explain. Michae| l_ewis is offering the same as SCA does but for a fee
so you can tackle him first and then save me for next week, CFI also does some of this community

https:/lmali.guogle.com/mal|lu,lZ/?ul=2&ik=ee8e32091b&vlew=-pt&q=...|=146337hc1212e723&slml=¢14633?dafBGOlaBa&s|ml=146343b5612f39cb Page 1 of B

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Camp Quest, lnc. Mail - Fwd: $cheduling a Call 7/21/14,12:15 PM

building for even non CF l groups so you will need to speak to Ron also if you really believe you have atl
community building needs covered and own that space. !just cut and pasted from my email to you,
Ron, August, Amanda, Stephen, etc. from last month. So adding Sarah for two more days a week is
your concern because that is the only change.

f wish you and the Harvard Humanist Community could do much more than you currently do on all fronts
-- not |ess. Too bad you do not seem to want the same for SCA and me.

Edwina Rogers

Executive Director

Secu|ar Coa|ition for America
1012 14th St., NW, Suite 205
Washington, DC 20005

Oflice (202) 299 1091 ext. 207
lVlobiEe {202) 674 7800
edwina@secuiar.org
www.secular.org

On May 24, 2014, at 9:43 Aivi, Greg l_anger <gianger|aw@gmail.com> wrote:

How about today? l don‘t want to continue thinking what |'m now thinking about you if it`s
not warranted

Sent from my iPad

On May 23, 2014, at 7:t6 Ptvt, Edw|na Rogers <edwina@secular.org> wrote:

How is noon on Wednesday? East Coast time.

Edwina Rogers

Executive Director

Secular Coa|ition for Arnerica
1012 14th St., NW, Suite 205
Washington, DC 20005

Office (202) 299 1091 ext. 207
Mobi|e (202) 674 7800
edwina@secular.org
www.secular.org

On May 22, 2014, at 5:28 PM, Greg t_anger <glangerlaw@gmail.com>
wrote:

Hi Edwina,

| just received this emai! from Jesse and was wondering what
it was all about. Please advise.

Best,
Greg

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Carnp Quest. inc. Mai| - Fwd: Scheduling a Cal| 7121,!14,12:15 PM

-~------- Forwarded message ---~--»-
From: Sarah Levin <sarah@secular.org>
Date: Thu, May 22, 2014 at 4:47 Pivl
Subject: Schedu|ing a Ca||

To: jesse.ga|ef@gmaii.com

Hi Jesse,

l very recently graduated and started full-time as
SCA's Secu|ar Community Coordlnator for the
Secu|ar Neighborhood Comrnunity Project. i
think you and l are doing very similar outreach
and that both of us could benefit from working
closety together. Can we schedule a call to
further discuss how we can start working
together? i_ooking forward to speaking with you!

Best,

Sarah

Sarah Marie l_evln

Secular Community Coorctinator
Secular Coaiition for America
101214th St. NW, Sulte 205
Washington, DC 20005

(202) 299-1091
www.secular,org

Amanda Metskas <amanda.metskas@campquest.org> Sat, May 24, 2014 at 11:06 AM
To: Patricia Guzli<owski <pattygee@wi.rr.com>, Bonnie Cousens <bonniecousens@gmai!.com>, H Alexander Satorie-
Robinson <a|exander@harobinson.net>, Rcy Speckhardt <rspeckhardt@americanhumanist.org>

See thread below that Edwina forwarded to me between her and Greg Langer. l have not replied to E.dwina yet.

Begin forwarded message:

From: Edwina Rogers <edwina@secu|ar.org>
Date: lvlay 24, 2014 at 10:59:27 AM EDT

To: Amanda Metskas <president@secular.org>
Subject: Fwd: Scheduling a Cal|

[Quoted text h'dden]

Patty Guzikowski <pattygee@wi.rr.com> Sat, May 24, 2014 at 12:16 PlVl
To: Amanda Metskas <amanda.metskas@campquest.org>. Bonnie Cousens <bonniecousens@grnail.com>, |-i Alexander
Satcrie-Robinson <alexander@harobinson.net>, Roy Speckhardt <rspeckhardt@americanhumanist.org>

https:llmail.google.comlma||[u/2l'r‘ul==28¢%$<=€€8€32091b&vlew=pt&q=...l=146337bc1212€723&5|"\1\=146337daf560139i1&5lml=145343b56£2f39cb Page 3 of 8

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Camp Quest, |nc. Mail - Fwd: Scheduiing a Call 7121/14, 12215 PM

Perhaps talking to her about this tendency towards sarcasrn would be a good idea lt's pretty unprofession.al, don‘t
you think? If she's rethinking her desire and mission to build a large secular communityl that means she's rethinking
whether or not to stay in her job. Maybe the way to approach it is to tell her that the message below comes across like
she's asking it' she should quit her job, not like she actually wants advice or help, because it starting off with sarcasm
and ending with request for help is pretty contradictory B.it;ing sarcasrn isn’t an appropriate response to conflict
resolution and it's riot a Way to foster cooperation She's calling our Community ”tribal", Which is not a good
viewpoint for a person who is trying to build a strong and large-scale community and get all the groups trying for the
same goal. Actually, her job is not to get all the other groups to try for the same goal, and what she's saying sounds
like she thinks she can single-handedly build this community herself, and those who aren't on board with that are
working against iter.

l guess we really have our work cut out for us. Amanda, l’ll call you early this afternoon if that's OK with you
(rentember l'm on central time).

Patty

From: Amanda Metskas [mailto:amandel.metsl<as@campquest.org]
Sent: Saturday, May 24, 2014 10:06 AM
'I'o: Patricia Guzikowski; Bonnie Cousens; H Alexander Satorie-Robinson; Roy Speckhardt

[Quoted text hidden]

[Ouoted text hidden]

Roy Speckhardt <rspecl<hardt@americanhumanist.org> Sat, iv‘lay 24, 2014 at 12:25 PlVl
To: Amanda iVletskas <amanda.metskas@campquest.org>

Cc: Patricia Guzikowski <pattygee@wi,rr.com>, Bonnie Cousens <bonniecousens@gmai|.com>, H Alexander Satorie-
Robinson <a|exander@harobinson.net>

To lay it on the tabie, my bias in a situation like this is more employer than HR. l'm going on the assumption that this is
fully confidential so l'm going to give my view openly.

When considering a very serious employee problem, one of first things l ask myself is, is this 1) a problem l can live
with even though l‘d like it to be improved upon, or 2) a problem that if it persists is not tenable, or 3} a problem that
forces immediate action. That helps me decide whether or not my actions are mostly encouragementfrefocusing,
putting on notice and describing what`s needed in order to continue, or determining the best way to let the person go.

These problems with defensiveness that escalates to col.inter-attacl<sl failing to put the coalition part of the
organization as first priority, and lack of consistent professionalism, seemed more a level one matter until recent
events Over the past couple weeks. lt looked like the situation was advancing into the second level. While l don‘t wish
to speak for the IHS board, | think l'm correct in saying that there'S feeling that the coalition nature of this organization
is broken with Edwina at the helm, and not seemingly easily fixable. But what l'm seeing today is possibly level three.

DC is a hire/tire at will state,but l believe that a record of insubordination (against a new board member and to you as
we|l) like that which exists in this thread is immediate cause for dismissal it the decision is made to proceed in that
fashion l may be missing facts and chains of events, so l hesitate to outright recommend such a step. but it seems
appropriate to at least have it on the table.

https:/,frna|l.goog|e.corn,'rnall/u,'Z/?ui-ZEilk-eeBeSZOSlbli¢view-~pt&q=...|-1463371.::1?.12e723&s|m|v14633‘Fdath'&l'.llasa&slm|~146343b5612f39cb Fage 4 of 8

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Carnp Quest. |nc. Mai| ¢ Fwd: Scheduling a Ca|l 7/21114.12:15 PM
-Roy
Roy Speckhardt

Executive Director

American Humanist Association
http:l/www.americanhumanist.org
http://www.facebooi<.comfAmoricanl-lumanist
1-800-837-3792

[Cluoted text hidden]

Patty Guzikowski <pattygee@wi.rr.com> Sat, May 24, 2014 at 12:25 PN'E
To: Amanda Metskas <arnancla.metskas@campquest.org>

l'm sending this just to you on purpose

l'm embarrassed to admit I didn’t read her response to Greg before l wrote my response to the group Y.[KES! l mean,
WTF? lf she can’t treat other people with respect, she needs to leave Th.is is really serious Rude, condescending,
inappropriate-and, trankly, immature as hell, This doesn't sound like a person who wants to build coalitions. Bhe’s
really shitty to her peers, subordinates, and superiors as well Pretty much to everyone l'm floored, really Can you
even imagine talking to anyone like this? i can’t stress how unacceptable l find her behavior lt we can’t get her to
realize that if her desired outcome is cooperationl being rude and confrontationai is not the way to get there, then l
have no hope that she’ll be able to fulfill her responsibilities in her position lt's pretty much Managernent 101 to think
about what you want to get out of an interaction before you proceed lt looks like what she wanted to get out of it was
to piss off Greg and confirm all the fears everyone had about her when she was hired

l guess that about sums up how l feel. Well, maybe not. . right now l feel that if was actually up to me, i'd tell her that
one more outburst like that one Would get her fired, and that she should reaiize that even giving her another chance
after everything that's been going on is pretty generous on our part.

From: Amanda Metskas [mailto:amanda.metskas@campquest.org]
Sent: Saturday, May 24, 2014 10:06 AM
To: Patricia Guzikowski; Bonnie Cousens; ti A|exander Satorie-Robinson; Roy Speckhardt

[Quoied taxi hidden]

iQuoiad text hiddsni

Patty Guzikowski <pattygee@wi.rr.com> Sat, May 24, 2014 at 12:26 PM
To: Roy Speckhardt <rspeckhardt@americanhumanist.org>, Amanda Metskas <amanda.metskas@campquest.org>
Cc: Bonnie Cousens <bonniecousens@gmail.com>, H A|exander Satorie-Robinson <alexander@haroblnson.net>

AGREED!

https:l/mall.goagle.comjmalllu,'Z[?ui==2&ik=~ee8e32091b&viewapt&q-...l»¢146337bc12122723&s|ml»=146337da[5501a9a&slml=146343b5512f39cb Page 5 of 8

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Camp quest. lnc. Mail ~ Fwdl Schedu|ing a Call 7."21/14.12:15 PM

From: Roy Speckhardt [rnailto:rspeckhardt@americanhumanist.org]
Sent: Saturday, May 24, 2014 11:25 AM

To: Amanda Metsi<as

Cc: Patricia Guztkowski; Bonnie Coesens; H Alexander Satorie-Robinson

[Quoted text hidden]

[Quoted text hidden]

Amanda Metskas <arnarada.metskas@campquest.org> Sat, May 24, 2014 at 12:45 PM
To: Pal.'ty Guzikowsl<i <pattygee@wi.rr.com>

Yup. l think we need to let her go. ASAP.
Looking forward to your ca||.

Thanks. :)
Amanda
[Quoted text hidden]

Bonnie <bonniecousens@gmaii.com> Sat. May 24, 2014 at 5:14 PM
To: Patty Guzikowsl<i <pattygee@wi.rr.oom>

Cc: Roy Speckhardt <rspeci<hardt@americanhumanist.org>, Amanda Metskas -<amanda.n'\ets‘,|-<as@t';arhpquest.org>1 H
Alexander Satorie-Ftobinson <alexander@harobinson.net>, bonn§ecousens@shj.org

| agree -- but we probably should talk about the best way to proceed. And we need to plan for both the board and
member org meetings and the summit
Bonnie

Sent from my iF’ad
[Guoted text hidden|

Amanda Metskas <amanda.metskas@campquest.org> Sat, May 24, 2014 at 6:47 PlVi
To: Bonnie <bonniecousens@gmai|.com>

Cc: Patty Guzikowski <pattygee@wi.rr.com>. Roy Speckhardt <rspeckhardt@americanhumahiat.org>, H A|exander
Satorie-Robinson <alexander@harobinson.net>, "bonniecoesens@shj.org" <bonniecousens@shj.org>

Agree. !'ve talked with Patty, Roy, and Bonnie at this point. Sti|| need to connect with Alexander.

| agree that us all talking together would be good. | Can be available anytime except for 3pm-6prn tomorrow. l can be
available before 11 am Monday, but otherwise not until 9pm Monday.

aitm
lOuczted text hiddel't]

pattygee <pattygee@wl.rr.com> Sat, May 24, 2014 at 7:04 PM
To: Amanda Metskas <amanda.rnetskas@campquest.org>. Bonnie <bonniecousens@gmai|.com>

Cc: Roy Speckhardt <rspeckhardt@amen'canhumanist.erg>, H Alexander Saton'e-Robinson
<alexander@harobinson.net>, "bonniecousens@shj.org" <bonniecousens@shj.org>

l'm not available tomorrow at alt but l can be available Monday morning.

Ser\t from my Verizon Wlfeless AG LTE smanphone
[Quoted text hidden]

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Case 1:15-cv-OO767-CRC Document 7-5 Filed 07/28/15 Page 8 of 9

Camp Questl lnc. Mail ~ Fwd: 5chedu||ng a Ca|t 7;'21/14,12:15 PM

Amanda Metskas <amanda.metskas@campquest.org> Sat, May 24, 2014 at 7:15 PN§
To: pattygee <pattygee@wi.rr.ccm>

Cc: Bonnie <bcnniecousens@grnail.com>, Roy Speckhardt <rspecl<hardt@americanhumanist.org>, H Alexander Satorie-
Robinson <alexander@harobinson.net>, "bonniecousens@shj.org" <bonniecousens@shj.org>

Does Monday at Qam work for you all?
fOuoted text hidden]

Atexander <a|exander@harcbinson.net> Sat, May 24, 2014 at 9:07 PNl
To: Amanda Nletskas <amanda.metskas@campquest.org>

Cc: pattygee <pattygee@wi.rr.com>, Bonnie <bonniecousens@gmai|.com>, Roy Speckhardt
<rspeckhardt@amen'canhumanist.org>, "bonnieccusens@shj.org" <bcnniecousens@sh].org>

That works for me.
Aiexander

Sent from my lPad
[Quoted text hidden]

pattygee <pattygee@wi.rr.com> Sat, May 24, 2014 at 9:28 P|Vl
To: Amanda Metskas <amanda.metskas@campquest.org>

Cc: Bonnie <bonniec:ousens@gmail.com>, Roy Speckhardt <rspeckhardt@americanhumanlst.org>, H A|exander Satorie-
Robinson <alexander@harobinson.net>, “bcnniecousens@sh].org" <bonniecousens@shj.org>

Any chance we can make it 9:30'? That‘s 8230 for me.

S-\nl from my Ver;¢on V..~ctess 46 l.`i’E smarlpttona

-------- Origina| message ~~------
Frorn: Amanda Metskas
[Ouoted text hidden]

Amanda Metskas <amanda.metskas@campquest.org> Sat, May 24, 2014 at 9:42 PM
To: pattygee <pattygee@wi.rr.corn>

Possib|e, but l have to be on an airplane at 11:15.
[Quoted text hidden]

pattygee <panygee@M.rr.com> Sat, May 24. 2014 at 10:11 PM
To: Amanda Metskas <amanda.metskas@campquest.org>

l'i| do 9:00 if that works for everyone. At least |'rn in wisconsin and not Ca|ifornia ;-)

55 11 -‘:o-\ my ‘Jerlzon Winzless 43 t.":‘E an onphone

-------- Origlna| message -»~~----

From: Amanda Metsltas
Date:05/24/2014 8:42 PM (GMT-OB:OD)
To: pattygee

http§:ffmatt.googie.comlmall/ul? l?ui=Z&lk“-=ee$e?v ZUBlb&\/lewnpt&q ==-'...|l=146337bc1212e723&s|m!==145337daf5601393&$|m|! 146343b5612f39cb Page 7 of 8

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Camp Quest, lnc. Mall - Fwd: Scheduling a Ca|| 712 1114, 12:15 PM

mooted text hidden]

Amanda Metskas <amanda.metskas@carnpquest.org>
To: pattygee <pattygee@wi.rr.com>

Sun, May 25, 2014 at 9:04 AM

Thartksl
[Qooted text hidden]

Amanda Metskas <amanda.metskas@campquest.org> Sun, May 25, 2014 at 9:06 AlVl
To: pattygee <pattygee@wi.rr.com>

Cc: Bonnie <bonniecousens@gmai|.com>, Roy Speckhardt <rspeckhardt@americanhumanist.org>, l-i A!exander Satorie-
Robinson <alexander@haroblnson.net>, "bonniecousens@shj.org“ <bonniecousens@shj.org>

Hi Patty, A|exander, Bonnie, and Rcy,
l taiked with Patty and she is okay with 9am tomorrow - Monday may 26.

Cal|: 530-881-1000
Code: 119022#

Thank you all for making yourselves availabie on a holiday weekend | know this isn't your preferred activity for
Memorial Day.

Amanda

On May 24, 2014, at 9:28 F'M, pattygee <pattygee@wi.rr.com> wrote:

[Quoted text hidden]

Bonnie <bonniecousens@gmai|.com> Sun. May 25, 2014 at 12:34 PM
To: Amanda Metskas <amanda.metskas@campquest.org>

Cc: pattygee <pattygee@wi.rr.com>, Roy Speckhardt <rspeckhardt@americanhumanist.org>, H Alexancler Satorie~
Robinson <alexander@harobinson.net>, “bonniecousens@shj.org“ <bonnieccusens@shj.org>

l can do lt. Thani< you.
mbc

Sent from my lPad
[Ouoted text hidden]

https:!imall.goog|e.corn,fmall.v'u/Zf?ul=2&ik=ee8e3ZOSZb&viewmpt&q=...l= l.46337oc12 lZe?ZZ&slm|='l4633?daf560 laga&slm|=146343b5612f39€b 939€ 3 Df 3

